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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


                                                  )
PEDRO CHAIREZ,                                    )
                                                  )
                Plaintiff,                        )
                                                  )
         v.                                       )
                                                  )        C.A. No. 11-644-GMS
                                                  )
PERRY PHELPS et al.,                              )
                                                  )
                Defendants.                       )
~~~~~~~~~~)

                                           MEMORANDUM

    I.        INTRODUCTION

         On July 21, 2011, Plaintiff Pedro Chairez ("Chairez") initiated this prose lawsuit against

Defendants employed at James T. Vaughn Correctional Center ("JTVCC"). (D.I. 1.) Chairez

brought this suit pursuant to 42 U.S.C. § 1983, alleging excessive force, unreasonable conditions

of confinement, violation of his Due Process rights, and unreasonable search and seizure. (Id.)

Chairez filed two Amended Complaints to add Defendants, Lieutenant Reynolds (D.I. 11) and

Deputy Warden Pierce ("Pierce"). (D.I. 49.) To date, the remaining defendants in this action are

Lieutenant Mark Daum ("Daum"), Lieutenant Brian Reynolds ("Reynolds"), former Warden Perry

Phelps ("Phelps"), and former Deputy Warden Pierce ("Pierce") (collectively, "Defendants"). 1

         Presently before the court is a Defendants' Motion for Summary Judgment on all of

Plaintiff's claims. (D.I. 71.) For the reasons that follow, the court will grant Defendants' Motion




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 On August 22, 2013 Plaintiff dismissed Phelps from the conditions of confinement claims. (D.I. 49.) Plaintiff
dismissed all "Unknown Officers" April 8, 2016. (D.I. 60.)
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as to the Due Process and search and seizure claims and deny Defendants' Motion as to excessive

force and conditions of confinement claims.

   II.BACKGROUND

       Chairez arrived from Arizona at JTVCC in May of 2011. (D.I. 72.) After Chairez's

requests for a transfer back to Arizona were denied, Chairez's continuous refusals to "cuff up"

resulted in three incidents which led to the instant action. (D.I. 11.) Chairez and Defendants agree

that in each incident where a pepper agent was used, Chairez had refused orders. (Id.)

       The first incident occurred on June 7, 2011 when Chairez refused to "cuff up" in the

exercise yard. (D.I. 72.) Chairez told officers to "[d]o what you have to do, I'm not coming out."

(Id.) As a result of his continued refusal to "cuff up," the Quick Response Team ("QRT") was

deployed to remove Chairez using pepper balls. Chairez was able to maneuver away from the

pepper balls, but QRT was able to subdue Chairez and force him to the ground. (Id. at 11.) A nurse

was called to the scene to examine Chairez and she fo~nd no injuries. (Id.)

       During the second incident, on June 8, 2011, Chairez was removed from his cell after

refusing to "cuff up" during a routine cell search. (Id.) Plaintiff refused to leave, took off his

glasses, and positioned himself in the back of his cell. (Id.) After refusing to comply with the cell

search, the QRT team was called. (id) Officers did not use force initially. (Id.) After Chairez

refused to cuff up for the QRT, officers sprayed capstun through the cell and eventually subdued

Chairez. (Id) Chairez alleges that during the incident Defendants kicked him in the ribs and hit

him with a metal pipe. (Id.) Medical records reveal Chairez's injuries consisted of red marks on

his back and neck. (Id.) X-rays taken of Chairez's ribs were normal. (Id.) Following the incident,

Chairez was placed in confinement where he complains of cold temperatures, less exercise than

normal, and being unnecessarily placed in 24-hour restraints for observation. (D.I. 11,    if 19-24.)
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While Chairez was in 24-hour restraints, he was only wearing boxers, had handcuffs locked at a

ninety degree angle, and wore shackles around his legs and abdominal region. (D.I. 1 at 5.)

           The last incident took place on September 27, 2011, when Daum and an Unknown Officer

assisted by the QRT forcibly removed Chairez from the exercise yard after Chairez refused to "cuff

up." (D.I. 11, if 1.) While lying face down on the ground surrounded by officers, Chairez asserts

an officer kneed him in the temple multiple times. (D.I. 11,            if 3.)   According to Chairez, while

restrained and not resisting, Daum emptied a can of pepper spray in his face. (Id.) Following the

incident, Chairez was taken to medical staff who noted lacerations on his head. (Id.)

           Plaintiff asserts that since his transfer to SHU he has been subject to three unconstitutional

"shake downs" a day where his cell is searched. (D.I. 11, ~ 35.) Chairez also alleges that he never

received a disciplinary notice from the June 8, 2011 incident and was not afforded the right to call

a witness to his disciplinary hearing four months after the incident. (D.I. 11, if 8.)

    III.      STANDARD OF REVIEW

           Summary judgment is          appropriate "if the pleadings, depositions, · answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to judgment as a matter

of law." Fed. R. Civ. P. 56(a); see Boyle v. Cnty. of Allegheny Pa., 139 F.3d 386, 393 (3d Cir.

1998). Thus, summary judgment is appropriate only if the moving party shows there are no

genuine issues of material fact that would permit a reasonable jury to find for the non-moving

party. Boyle, 139 F.3d at 393. 2 A fact is material only if it might affect the outcome of the suit.


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  A prose plaintiff still has "the formidable task of avoiding summary judgment by producing evidence 'such that a
reasonable jury could return a verdict for [him].'" See Zilich v. Lucht, 981F.2d694, 696 (3d Cir. 1992) (quoting
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). Chairez cannot generate a genuine dispute of material
fact solely on unsubstantiated allegations in the complaint. See Hmp v. Rahme, 984 F. Supp. 2d 398, 409 (E.D. Pa.

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Id. (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247--48 (1986)). An issue is genuine if

a reasonable jury could possibly find in favor of the non-moving party with regard to that issue.

Id.

            In deciding the motion, the court must construe all facts and inferences in the light most

favorable to the non-moving party. Id. In determiriing the appropriateness of summary judgment,

a court must review the record as a whole and "draw all reasonable inferences in favor of the

nonmoving party, [but] may not make credibility determinations or weigh the evidence." Reeves

v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000).

      IV.      DISCUSSION

            The Defendants contend that, based on the available evidence of record, each of Chairez's·

claims fails as a matter oflaw. The court disagrees.

            A. Excessive Force

            With excessive force claims, "[t]he 'core judicial inquiry,' [is] not whether a certain

quantum of injury was sustained, but rather 'whether force was applied in a good-faith effort to

maintain or restore discipline, or maliciously and sadistically to cause harm."' Wilkins v. Gaddy,

559 U.S. 34, 37 (2010). The court evaluates "good faith" by examining (1) the need for the

application of force, (2) the relationship between the need and the amount of force that was used,

(3) the extent of the injury inflicted, (4) the threat reasonably perceived by the responsible officials,

arid (5) the efforts made to temper the severity of a forceful response. Davis v. Carroll, 390 F.

Supp. 2d 415, 419 (D. Del. 2005).



2013) ("Plaintiffs prose status does not eliminate her obligation to allege specific facts, substantiated by evidence on
the record~").

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         Chairez's claim asserts that the Defendants' use of pepper spray, pepper spray balls, and

"powerful blows" to his head while he was detained were excessive. (D.I. 1 at 4.) Defendants

respond in part by citing Lieutenant Daum's declaration and the incident reports filed on June 8,

9; and September 27, 2011. (D .I. 73.) They contend that the use of pepper spray and physical force

necessary to subdue Chairez was only as much as was needed to maintain order. (D.I. 72 at 13;

73.) On the other hand, Chairez provides the Affidavit of Howard Page (D.I. 13), in which Page

writes that during the June 8, 2011 incident Chairez sustained "powerful blows," while restrained,

subdued, pinned, and not fighting when an officer kicked him multiple times in his head. (Id.)

These and other competing factual assertions raise a genuine issue for a jury to decide whether

Defendants utilized excessive force to subdue Plaintiff. Thus, the court cannot now determine

whether Defendants should be shielded by the doctrine of qualified immunity.3

         B. Conditions of Confinement

         The Eighth Amendment of the United States Constitution protects those convicted of

crimes from "cruel and unusual punishment."                       U.S. CONST. AMEND. VIII. "Not every

governmental action affecting the interests or well-being of a prisoner is subject to Eighth



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           Defendants seek dismissal on the grounds of qualified immunity (D.1. 72.) Defendants argue qualified
immunity is appropriate on all grounds asserted because no unconstitutional use of excessive force occurred, and even
if excessive force was used, a reasonable officer confronting the situation in which Defendants found themselves
would believe Defendants' conduct was lawful.
         "The doctrine of qualified immunity protects government officials from liability for civil damages insofar as
their conduct does not violate clearly established statutory or constitutional rights of which a reasonable person would
have known." Pearson v. Callahan, 555 U.S. 223, 231 (2009). The question of"whether an officer made a reasonable
mistake of law and is thus entitled to qualified immunity is a question of law that is properly answered by the court,
not a jury." Curley v. Klem, 499 F.3d 199, 211 (3d Cir. 2007). "[l]t is generally unwise to venture into a qualified
immunity analysis at the pleading stage as it is necessary to develop the factual record in the vast majority of cases."
Newland v. Reehorst, 328 Fed.Appx. 788, 791 n.3 (3d Cir. 2009).
         A full analysis of whether qualified immunity applies to Plaintiffs claims against Defendants is premature
because there are unresolved questions of fact relevant to the analysis. Accordingly, the court will deny the motion to
dismiss on the grounds of qualified immunity at this time.

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Amendment scrutiny, however. ... To be cruel and unusual punishment, conduct that does not

purport to be punishment at all must involve more than ordinary lack of due care for the prisoner's

interests or safety." Whitley v. Albers, 475 U.S. 312, 319 (1986); see also Hudson v. McMillian,

503 U.S. 1, 8 (1992) ("[E]xtreme deprivations are required to make out a conditions-of-

confinement claim. . . . ").         Thus, in evaluating whether the conditions of confinement pass

constitutional muster, the court must consider both an objective component-"Was the deprivation

sufficiently serious?"-and a subjective component-"Did the officials act with a sufficiently

culpable state of mind?" Wilson v. Seiter, 501 U.S. 294, 298 (1991). The objective prong requires

that "a prison official's act or omission must result in the denial of 'the minimal civilized measure

oflife's necessities." Farmer v. Brennan, 511 U.S. 825, 834 (1994). As for the subjective prong,

a prison official's inadvertent failure to remedy a wrong is not actionable; he or she must

demonstrate "deliberate indifference" to inmate health and safety. Id.

         Chairez claims the conditions in the SHU were too cold, that he was not allowed to exercise

enough, that he was denied privileges in the SHU such as reading material, and that the use of 24-

hour restraints following the June 8, 2011 incident was unnecessary and unconstitutional. The

record does not support Chairez's claims regarding the alleged deprivations concerning

temperature, exercise (D.I. 11), or reading material. 4 The court cannot, however, at this time rule


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            Plaintiff, was provided soap, a toothbrush, toothpaste, and a wash cloth to be returned to staff after use.
(D.I. I at 7.) Beyond his bare assertions that isolation was uncomfortable, there is no evidence that conditions remained
"sufficiently serious" to implicate Eight Amendment concerns. See Wilson, 50 I U.S. at 298 ("The Constitution ...
does not mandate comfortable prisons, and only those deprivations denying the minimal civilized measure of life's
nycessities are sufficiently grave to form the basis of an Eighth Amendment violation.").
          The record is also devoid of evidence that would support an inference of deliberate indifference, i.e., the
Defendants "disregard[ed] a risk of harm of which [they were] aware." See Farmer, 511 U.S. at 837. Chairez filed
grievances stating that he was cold and was deprived of his personal possessions while in isolation. (D.I. 11.)
Thereafter, Defendants responded to the grievances and allowed Chairez to order more clothing. In other words, the
evidence fails to indicate (1) what the risk was; and (2) whether the Defendants knew of it. There is no genuine dispute

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on Chairez's claims concerning whether the use of 24-hour restraints was improper. No party

disputes that Chairez was placed in 24-hour restraints after the June 8, 2011 incident. (D.I. 72 at

20.) Chairez filed an interrogatory request asking Defendants to "[s]tate exactly what the 24 hr.

restraints _consist of and where they're placed, and where inmates are detained for this practice?"

(D.I. 57,   if   10.) Defendants objected stating "the requirements are governed by information

protected by 11 Del. C. 4322." (Id.) 5 The Supremacy Clause aside, to make a proper determination

on this claim, the court orders that Defendants provide a copy of the 24-hour restraint policy for

in camera review, forthwith.

         C. Due Process

         Chairez claims that Defendants Reynolds and Phelps denied him Due Process by failing to

provide him with the Rules of Conduct, and the opportunity to confront accusers and call witnesses

during his disciplinary proceedings. (D.I. 11.) The record shows, however, that the Rules of

Conduct were available in the law library and that Chairez did not request the presence any



for trial concerning the Defendants' deliberate indifference.
           While in confinement, the lack of exercise "only rises to a constitutional level 'where movement is denied
and muscles are allowed to atrophy, [and] the health of the individual is threatened ... "' Wyant v. Correctional Med.
Servs. 2005 WL 2864787 at *4 (D. Del. Nov. 1, 2005) (quoting Frazier v. Ward, 426 F.Supp. 1354 (1977)). While in
confinement, Chairez was allowed to exercise 45-minutes three times per week while. (D.I. 72 at 7.) Thus, there is no
genuine dispute for trial regarding the amount of exercise provided.
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  Sections 4322(c) & (d) provide that:

                   (c) No inmate shall be provided a copy of the Department of Correction Policy
                   and Procedures Manuals, The Bureau of Prisons Policy and Procedures Manuals,
                   nor any of the Department of Correction Facilities Operational Procedures,
                   Administrative Regulations and Post Orders.
                   (d) The Department of Correction Policies and Procedures, including any Policy,
                   Procedure, Post Order, Facility Operational Procedure or Administrative
                   Regulation adopted by a Bureau, facility or department of the Department of
                   Correction shall be confidential, and not subject to disclosure except upon the
                   written authority of the Commissioner.

11 Del. C. §§ 4322(c) & (d).

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witnesses at his hearing. (D.I. 81.) Thus, the court grants the Motion as to this claim.

        D. Search & Seizure

        Inmates have no privacy rights in their cells, and, thus, there is no constitutional prohibition

against prison officials conducting cell searches. Hudson v. Palmer, 468 U.S. 517, 525-26 (1984).

Searches are an important part of prison security. Id. Accordingly, prison officials are entitled to

unfettered access without being subjected to claimed violations under the Fourth Amendment to

the Constitution. Id. at 27. However, searches that constitute "calculated harassment unrelated to

prison needs" are not necessarily permissible. Id. at 530. "Nor does it mean that prison attendants
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can ride roughshod over inmates' property rights with impunity." Id.

        Chairez alleges that since his transfer to SHU his cell has been subjected to unwarranted

searches; three times a day. (D.I. 11.) While perhaps frequent, there is no basis in the current

record for the court to conclude that these searches were unrelated to prison needs and for the

purpose of harassment. As currently presented, the claim lacks an arguable basis in law or in fact

and must, therefore, be denied.

   V.        CONCLUSION

        For aforementioned reasons, the court will grant in part and deny in part the Defendants'

Motion for Summary Judgment.



Dated: September    J   ?-, 2017




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